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                                                         October 14, 2024

      VIA ECF

      Honorable Michael A. Hammer, U.S.M.J.
      United States District Court for the District of New Jersey
      Martin Luther King Jr. Building & U.S. Courthouse
      50 Walnut Street
      Newark, NJ 07102

                         Re:       In re American Medical Collection Agency, Inc. Customer Data Security
                                   Breach Litigation, No. 19-md-2904(MCA)(MAH)

      Dear Judge Hammer,

          I am Interim Lead Counsel for Plaintiffs in the above-referenced matter. Pursuant to Your
      Honor’s MDL Text Order, ECF 734, I write with the consent of Defendants to propose the
      following revised schedule for filing the upcoming motions for class certification and any related
      challenges to the parties’ experts:

             •    May 13 – Plaintiffs to file motions for class certification
             •    May 14 – Defendants to file briefs in opposition to class certification
             •    May 15 – Plaintiffs to file reply briefs in support of class certification
             •    May 19 – All parties to file motions challenging class certification experts
             •    May 20 – All parties to file briefs in opposition to motions challenging class certification
                  experts
             •    May 21 – All parties to file reply briefs in support of motions challenging class certification
                  experts

         The parties will serve their papers in accordance with the agreed-upon schedule that was
      previously submitted to Your Honor. ECF 731. If this proposed filing schedule meets with Your
      Honor’s approval, please kindly So Order this letter and return it to the parties through the Court’s
      ECF system.
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            We thank Your Honor for your continued attention to this matter and we are available at
     the Court’s convenience to answer any questions.

                                                Respectfully submitted,

                                              CARELLA BYRNE CECCHI
                                              BRODY & AGNELLO, P.C.

                                                 /s/ James E. Cecchi
                                                 JAMES E. CECCHI

     cc: All counsel of record (via ECF)




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